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                                         IN THE UNITED SATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

In re:                                                                            Chapter 11
SPORTS AUTHORITY HOLDINGS, INC., et al
                 Debtors.                                                         Case No. 16-10527 (MFW)
                                                                                  Jointly Administered
O2COOL, LLC, a Delaware limited liability company,
                                 Plaintiff,                                       Adv. Proc. No. 16-51014 (MFW)
v.

TSA STORES, INC., et al.
                                                               Defendants.

                                             DECLARATION OF RONALD M. MAROTTA
I, Ronald M. Marotta, hereby declare the following to be true under the penalties of perjury:


              1.             I am a Vice President in the International Division of defendant Yusen Logistics

(Americas), Inc. (“Yusen”). As such, I am fully familiar with the facts and circumstances had

herein. This declaration is based on my personal knowledge of the transactions at issue as well

as my review of Yusen’s business records with respect to same and my review of the documents

attached to the Complaint in this Adversary Proceeding.

              2.             I submit this Declaration in support of the Joint Motion for Summary Judgment

filed by defendants TSA Stores, Inc. (“TSA”) and Yusen (collectively, the “Moving

Defendants”). As set forth herein, Yusen was neither a bailee nor a carrier with respect to the

goods at issue. I am informed by counsel that because Yusen was neither a carrier nor a bailee of

the goods, the Yusen Stoppage Notices1 issued by plaintiff, O2Cool, to Yusen were improper

and had no effect.

              3.              Yusen provides logistics and supply chain management services including air


                                                            
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       Capitalized terms used and not defined herein shall have the same meaning ascribed in the
Motion for Summary Judgment.
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freight forwarding, ocean freight forwarding, origin cargo management, customs house

brokerage, warehousing, and over the road and intermodal transportation to a wide range of

industries. Yusen is a New York corporation having its corporate headquarters in Secaucus,

New Jersey. Yusen is owned by Yusen Logistics Co. Ltd, (“YLK”) a Japanese corporation,

resulting from the 2010 combination of Yusen Air & Sea Service and NYK Logistics Japan.

YLK, through its subsidiaries, operates a global logistics and supply chain services network

linking Asia, the Americas, Europe, Africa and Oceania.

       4.      Yusen performed origin cargo management and customs house brokerage services

for TSA. As part of these services Yusen provided TSA with cargo management software and a

Dedicated Account Manager. TSA implemented standard operating procedures with which

Yusen was required to comply. As part of the standard operating procedures TSA selected and

approved all carriers and provided routing guidelines for all shipments.

       5.      TSA ordered goods from a number of different vendors including O2Cool. Often

the goods were manufactured overseas. In the case of the O2Cool Sold Goods the goods were

manufactured in China. Vendors such as O2Cool had access to the cargo management system

and software provided by Yusen to TSA. Once a shipment is ready the vendor places a booking

in the cargo management system to notify TSA and Yusen of the impending shipment. At least

14 days before the expected shipping date Yusen reviews the booking to see if it complies with

the business rules and operating procedures established by TSA. If any exceptions or

discrepancies exist then TSA must approve the shipment.

       6.      In the case of the goods at issue in this litigation, Yusen Logistics (Hong Kong)

Inc. (“YL Hong Kong”), arranged for the transportation of the Sold Goods from China to the

Distribution Centers, in accordance with TSA’s routing guidelines and carrier matrix. YL Hong




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Kong served as a freight forwarder for TSA. TSA hired Shenzhen Yusen Freight Service

Company Limited – OCM (“Shenzhen”) to receive and consolidate the Sold Goods from O2Cool

into shipping containers at the port of departure in China and deliver them to the appointed

carrier’s ocean terminal. If the Goods Sold constituted a full container then TSA directed

O2Cool to deliver the Goods Sold to the appointed carrier’s ocean terminal.

       7.      All of the Sold Goods were delivered by O2Cool to YL Hong Kong between

January 13, 2016 and February 3, 2016, as evidenced by the Commercial Invoices and Packing

Lists provided by O2Cool with the Sold Goods (collectively, the “O2Cool Shipping

Documents”), attached as Exhibit 1. Upon receipt of the Sold Goods, YL Hong Kong issued

forwarder’s cargo receipts (collectively, the “Forwarder’s Cargo Receipts”), attached as Exhibit

2. Thereafter, Shenzhen consolidated and delivered the Sold Goods to the designated carriers,

and the carriers issued non-negotiable sea waybills/bills of lading (collectively, the “Carrier

Waybills”), attached as Exhibit 3.

       8.      The O2Cool Shipping Documents indicated that O2Cool delivered the Sold

Goods “FOB Yantian China.” The O2Cool Shipping Documents also provided details about the

specific Sold Goods and the vessel that was to transport the listed Sold Goods. Additionally, the

O2Cool Shipping Documents indicated that O2Cool is the seller, TSA is the consignee and

buyer, and Yusen is TSA’s broker.

       9.      Each of the Carrier Waybills summarized the specifically listed Sold Goods in the

O2Cool Shipping Documents, named the carrier, listed the port of loading, the port of discharge,

the final places of delivery (i.e., one of the TSA Distribution Centers), and indicated that

Shenzhen is the shipper, TSA is the consignee, and Yusen is the notice party (but that the carrier

was not responsible for notifying this party).




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              10.            According to the Complaint, O2Cool sent five stoppage notices to Yusen, dated

February 12, 2016, February 15, 2016, February 25, 2016, and February 26, 2016 (collectively,

the “Yusen Stoppage Notices”), attached to the Complaint as Exhibit D, to purportedly stop

Yusen from delivering to TSA the specifically listed Sold Goods indicated in the Yusen

Stoppage Notices. However, at no time after receipt of any of the Yusen Stoppage Notices was

any Yusen entity ever in possession of the listed Sold Goods.

              11.            Attached as Exhibit 4 is a report generated by the origin cargo management

software on February 18, 2016 which shows, among other things, the date on which each

O2Cool shipment was (i) received by Shenzhen, (ii) loaded on the carrier at the port of Yantian,

and (iii) the actual sail date of the carrier. Yusen caused this report to be generated due to its

receipt of a Yusen Stoppage Notice. As can be seen from this report, the actual sail dates of each

of the shipments occurred between January 26, 2016 and February 10, 2016. Thus, the Sold

Goods were all in the possession of the respective carriers and at sea before O2Cool sent the

earliest of the Yusen Stoppage Notices.

              12.            In response to the Yusen Stoppage Notices, Yusen’s counsel advised O2Cool that

it was only a freight forwarder and not a carrier or bailee, and that it did not have possession of

the Sold Goods.2 See Exhibit 5.

              13.            Upon arrival at the destination ports, Yusen served as customs house broker for

TSA and filed the necessary paperwork to import the Sold Goods into the United States. At no

time during this process was Yusen in possession of the Sold Goods. The Sold Goods at all




                                                            
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   YL Hong Kong served as the freight forwarder with respect to the Sold Goods. Yusen, the
actual recipient of the Yusen Stoppage Notices, only served as the customs house broker with
respect to the Sold Goods.


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times remained in the possession of the carrier until their delivery to TSA. Yusen did not

provide any transpmiation or warehouse services for the Sold Goods in the United States.

        14.    None of the Yusen entities involved retained possession of any Sold Goods after

they were loaded on the respective canier' s ships. None of the Yusen entities, including Yusen,

YL Hong Kong, or Shenzhen ever possessed any of the Sold Goods after they reached the United

States. At all times the Sold Goods remained in the possession of the respective carriers and

under the control of TSA to direct to where they were transp01ied.

Wherefore, it is respectfully requested that the Moving Defendants' Motion for Summary

Judgment be granted in its entirety together with such other and further relief as the Comt deems

just and proper under the circumstances.


Dated: Secaucus, New Jersey
February [}, 2017




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                                                     Ronald M. Marotta




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